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                       UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

In re:                                       §           Chapter 11
                                             §
ALEXANDER E. JONES                           §          Case No. 22-33553
                                             §
                            DEBTOR.          §
                                             §


FINAL FEE APPLICATION OF THE REYNAL LAW FIRM, P.C., SPECIAL COUNSEL TO
ALEXANDER E. JONES FOR ALLOWANCE AND PAYMENT OF COMPENSATION AND
REIMBURSEMENT OF EXPENSES INCURRED FOR THE PERIOD FROM JANUARY 8,
                          2022 TO JUNE 6, 2024.




            This motion seeks an order that may adversely affect you. If you
            oppose the motion, you should immediately contact the moving party
            to resolve the dispute. If you and the moving party cannot agree, you
            must file a response and send a copy to the moving party. You must file
            and serve your response within 21 days of the date this was served on
            you. Your response must state why the motion should not be granted.
            If you do not file a timely response, the relief may be granted without
            further notice to you. If you oppose the motion and have not reached
            an agreement, you must attend the hearing. Unless the parties agree
            otherwise, the court may consider evidence at the hearing and may
            decide the motion at the hearing.

            Represented parties should act through their attorney.
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                                             SUMMARY

 Name of applicant:                                             The Reynal Law Firm, P.C.
 Applicant’s professional role in case:                         Special Counsel to Debtor
 Indicate whether this is an interim or final application:      Final
 Date order of employment was signed:                           February 28, 2023
                                          Beginning of Period   Ending of Period
 Total period covered in application      January 8, 2023       June 6, 2024
 Time periods covered by any prior        N/A                   N/A
 applications
 Total amounts awarded in all prior applications                N/A
 Amount of retainer received in the case from FSS               $50,000
 Amount of retainer received from Alex Jones                    $50,000
 Total Fees                                                     $397,640
 Total Fees FSS                                                 $198,820
 Total Fees Alex Jones                                          $198,820
 Total fees applied for in this application and in all prior    $137,757.50
 applications (include any retainer amounts applied or to be
 applied)
 Total professional fees requested in this application          $137,757.50
 Total professional hours covered by this application           521
 Average hourly rate for professionals                          $580.58
 Total paraprofessional hours covered by this application       0.0
 Average hourly rate for paraprofessionals                      N/A
 Total Reimbursable expenses                                    $685
 Reimbursable expenses sought in this application               $342.50


TO THE HONORABLE CHRISTOPHER LOPEZ, UNITED STATES BANKRUPTCY
JUDGE:

       COMES NOW the Reynal Law Firm, P.C. (the “Applicant”) and files this Final

Application (the “Application”) for approval of Applicant’s fees in the total amount of

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$137,757.50 and reimbursement of all expenses totaling $342.50 incurred during its employment

as special counsel to Alexander E. Jones (the “Debtor”) from January 8, 2023, through June 6,

2024 (the “Period”). In support of this Application, the Applicant respectfully states as follows:

                                JURISDICTION AND VENUE

 1.    This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and 1334

       and the Standing Order of Reference from the United States District Court for the

       Southern District of Texas. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

 2.    The statutory predicate for the relief sought herein is 11 U.S.C. §§ 330 and 331, Federal

       Rule of Bankruptcy Procedure 2016, and the Local Rules of this Court.

              RETENTION OF APPLICANT AND PRIOR COMPENSATION

 3.    On December 2, 2022 (the “Petition Date”), Alexander E. Jones (the “Debtor”)

       commenced a case by filing a petition for relief under Chapter 11 of the Bankruptcy Code

       (the “Case”).

 4.    On February 7, 2023, the Debtor filed its Application of Debtor for an Order Authorizing

       Employment of the Reynal Law Firm, P.C., as Special Counsel Under 11 U.S.C. § 327(e)

       [ECF #139]. On February 28, 2023, this Court approved the retention of Applicant as

       special counsel for the Debtor (the “Retention Order”) (ECF #187). The Retention Order

       provides that Applicant will receive 50% of its fees from Debtor, with the remaining 50%

       to be paid by Alex Jones.

 5.    On January 20, 2023, the Court entered its Order Establishing Procedures for Interim

       Compensation and Reimbursement of Expenses of Retained Professionals (“Interim


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          Compensation Order”) [ECF # 202], permitting Applicant to receive payment of 80% of

          fees and 100% of expenses. Pursuant to the Interim Compensation Order, Applicant has

          received periodic payments on monthly fee statements as set forth below:

Date              Fees         Expenses      Total Invoice Amount Due              Payment
                                                           (A. Jones)              (A. Jones)
2.2.23            11,640                     11,640        4,656
5.22.23           41,200       685           41,885        16,822
8.3.23            25,920                     25,920        10,368
9.8.23            75,920                     75,920        30,368
10.11.23          38,720                     38,720        15,488
11.6.23           48,040                     48,040        19,216
12.5.23           34,760                     34,760        13,904
03.06.24                                                   $138,100                56,166.75
Total                          $685          $276,200      $138,100                $56,166.75


 6.       This is the Applicant’s first application. It includes fees and expenses incurred during the

          entire period of the Applicant’s engagement, from January 8, 2023, through June 6, 2024.

 7.       These services were rendered and expenses incurred during Applicant’s representation of

          the Debtor in this case. Applicant believes such fees and expenses were reasonable,

          necessary, and appropriate, given the circumstances.

                  NATURE AND EXTENT OF LEGAL SERVICES PROVIDED

 8.       Applicant has provided the Debtor extensive legal services during the period’s eighteen

          (18) months. Attached to this Application are records of the timekeeping entries during

          the Period generated by Applicant’s personnel who have worked on this engagement (the

          “Invoice”).1 These entries describe the Applicant’s services during the Period on the


 1
     See Exhibit A.


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       Debtor’s behalf.

 9.    The Invoice also specifies each attorney who provided compensable services during the

       Period. Specifically, the Invoice identifies the person providing the service and the

       following: (1) that person’s individual billing rate and (2) the total number of hours

       expended by that person.

10.    Applicant has broken down its legal services rendered according to the project categories

       propounded by the Guidelines of the Office of the United States Trustee. The pertinent

       project categories are:

                        •         Asset Analysis and Recovery
                        •         Asset Disposition
                        •         Assumption and Rejection of Leases and Contracts
                        •         Avoidance Action Analysis
                        •         Business Operations
                        •         Case Administration
                        •         Claims Administration and Objections
                        •         Employment and Fee Applications
                        •         Fee/Employment Objections
                        •         Financing and Cash Collateral
                        •         Litigation
                        •         Meetings and Communications with Creditors
                        •         Non-working Travel
                        •         Plan of Reorganization
                        •         Relief from Stay Proceedings
11.    The figures for the time and amounts billed per project category cover the Period. The

       following chart generally describes the services rendered by the Applicant to the Debtor

       in each of the relevant project categories, with more additional detail provided by in

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           Exhibit A:


                               FEES INCURRED IN PERIOD
                   CATEGORY OF SERVICE                         HOURS               FEES
 Asset Analysis and Recovery                                             0                   0
Asset Disposition                                                        0                   0
Assumption and Rejection of Leases and Contracts                         0                   0
 Avoidance Action Analysis                                               0                   0
 Business Operations                                                     0                   0
 Case Administration                                                     0                   0
 Claims Administration and Objections                                    0                   0
 Employment and Fee Applications                                         0                   0
 Fee/Employment Objections                                               0                   0
 Financing and Cash Collateral                                           0                   0
 Meetings and Communications with Creditors                              0                   0
 Plan of Reorganization                                                  0                   0
 Litigation                                                            515          $276,200
 Relief from Stay Proceedings                                            0                   0
 Non-working Travel2                                                     6             $2,400
 Totals                                                                521          $273,800



                 REQUEST FOR REIMBURSEMENT OF EXPENSES INCURRED

 12.       While providing legal services to the Debtor, Applicant incurred certain reasonable and

           necessary out-of-pocket expenses while representing the Debtor. A detailed record of

           these expenses is included in the Invoice. Expenses were billed at actual cost. Applicant

           does not charge for long-distance telephone, outgoing faxes, and in-house charges for

2
    Billed at one-half time.

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            copying and postage. Outside copies ($.15 per page) and postage are billed at the rate

            charged by the vendor. The applicant has not requested for general overhead expenses.

     13.    Applicant’s post-petition expenses are separated into relevant categories as outlined in the

            table below, with additional detail outlined in Exhibit A.

                  EXPENSE                                                  AMOUNT
                 Travel - Hotel                                                    $685
                 Total                                                             $685

     14.    Applicant believes that the expense request is reasonable, appropriate, and necessary and

            requests that the Court grant it reimbursement for $685 in reimbursable expenses incurred

            during the Period by Applicant on the Debtor’s behalf.

                              FACTORS AFFECTING COMPENSATION

     15.    Courts recognize that factors other than the number of hours spent and the hourly rate

            normally charged may be considered in fixing the amount of reasonable attorneys’ fees to

            be awarded in a bankruptcy proceeding. Such factors are outlined in In re First Colonial

            Corporation of America, 544 F.2d 1291 (5th Cir. 1977) and Johnson v. Georgia Highway

            Express, Inc., 488 F.2d 714 (5th Cir. 1974). One or more of these Johnson factors may

            serve as a basis for enhancing the hourly rate, which might otherwise be allowed. Wolf v.

            Frank, 555 F.2d 1213 (5th Cir. 1987). The Johnson factors are discussed in further detail

            below.

A.   Time and Labor Required. Exhibit A lists in detail all the work performed for which

     compensation is sought. Time entries are broken out by the date the services were rendered, the

     individual performing such services, a description of the services, and the time expended.


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     Applicant believes that such detail establishes that its request for compensation is reasonable. All

     the services specified were actual and necessary for the Debtor to perform its statutory duties.

B.   Novelty and Difficulty. As outlined in more detail in Exhibit A, this case has involved several

     procedural phases and challenging legal issues. First, the Applicant engaged in post-trial motions

     practice before the 459th District Court of Travis County, Texas, to preserve the error for Debtor’s

     appeal. Then, the Applicant worked with co-counsel to draft and file the Debtor’s appeal to the

     Third Court of Appeals. This appeal addressed many complex legal issues, including:

            ● Whether death penalty sanctions unrelated to the claimed harm were unnecessarily
              harsh;
            ● Whether by construing causation to be “established,” the trial court relieved
              Plaintiffs of their burden of proving causation;
            ● Whether Plaintiffs’ intentional infliction of emotional distress claims were really
              defamation claims and, therefore, barred;
            ● Whether the trial court violated the Texas Damages Act by improperly bifurcating
              the trial;
            ● Whether joint and several liability can be imposed on Defendants for exemplary
              damages;
            ● Whether the trial court improperly permitted Plaintiffs to amend their petition to
              allege new causes of action after trial; and
            ● Whether the trial court violated established precedent by awarding Plaintiffs
              approximately $1,000,000 in attorney’s fees that were not supported by
              contemporaneous detailed billing records.
C.   Skill Required to Perform the Legal Services Properly. This Case required counsel to be

     familiar with various state laws related to defamation, intentional infliction of emotional distress,

     personal injury law, and state court trial and appellate practice.

D.   Preclusion of Other Employment. The applicant is part of a four-lawyer firm. Accordingly,

     representation in this case has limited Applicant’s firm’s ability to accept other employment.


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     Representation of this Debtor has required a significant amount of Applicant’s capacity (521

     hours of billable time) over the seventeen (12) months the case has been pending.

E.   Customary Fee. The hourly rates for each professional are summarized above and in Exhibit A

     filed to support this Application. The attorneys’ rates reflect the usual rates charged by the

     Applicant. The hourly rates requested by Applicant compare favorably with average costs for

     similar legal services provided by law firms representing similarly situated debtors.

F.   Whether the Fee is Fixed or Contingent. The applicant’s fee is neither fixed nor contingent,

     other than the contingency of court allowance and available assets to pay professionals. It is

     based on the actual total number of hours worked plus the actual costs incurred.

G.   Amount Involved and Results Obtained. Exhibit A details the Applicant’s work during the

     Period. The dates such services were rendered, the individual performing such services,

     descriptions of the services, and the time expended are all detailed. Applicant believes that such

     information establishes that its requested compensation is reasonable. As a result of Applicant’s

     efforts during the Period, the Debtor filed its appeal of the more than $40 million dollar

     judgment entered against it.

H.   Experience, Reputation, and Ability of the Attorneys.           Since leaving the United States

     Attorney’s Office for the Southern District of Texas in 2012, Mr. Reynal has appeared as trial

     counsel for individuals in significant cases in the Southern District of Texas and elsewhere. Mr.

     Reynal has 17 years of experience focusing on trial advocacy and has a positive reputation in the

     business and legal community.

I.   “Undesirability” of Case. Representation of the Debtor in this case was undesirable. The

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     Debtor’s principal is a controversial figure and the subject of public ire. Further, given the

     contentious nature of the Sandy Hook Litigation and the underlying claims, even matters that

     should be easily agreed upon are fiercely contested.

J.   Awards in Similar Cases. Based on the Applicant’s experience in the Texas legal market and

     throughout the country, the Applicant’s fees are lower than those allowed in proceedings of

     similar scope for the services rendered and results obtained.

                                              CONCLUSION

     16.     Pursuant to this Application, Applicant seeks approval of (i) compensation in the total

             sum of $137,757.50 and (ii) reimbursement of expenses in the total sum of $342.50.

             Applicant requests approval and payment of all approved, accrued, and unpaid fees and

             expenses for the Period.

                                                  PRAYER

                  WHEREFORE, Applicant respectfully prays that the Court enter an order (i)

      approving this Final Application; (ii) allowing the reasonable attorney fees and expenses

      claimed herein, totaling $138,100 as allowed administrative expenses of the Debtor’s estate;

      (iii) authorizing and directing the Debtor to pay the remaining balance of approved amounts to

      Applicant promptly; and (iv) granting such other and further relief to which Applicant is justly

      entitled.

                  Respectfully submitted June 7, 2024.


                                            THE REYNAL LAW FIRM, P.C..
                                            917 Franklin Street, Sixth Floor
                                            Houston, Texas 77002

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                                     By: /s/ F. Andino Reynal
                                     F. Andino Reynal
                                     Texas Bar No. 24060482

                                     ATTORNEYS FOR FREE SPEECH SYSTEMS, LLC.




                                CERTIFICATE OF SERVICE

       On June 7, 2024, a true and correct copy of the foregoing document was filed with the
Court and served electronically upon those parties registered to receive electronic notice via the
Court’s CM/ECF system.


                                                       /s/ F. Andino Reynal




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